











NO. 07-08-0067-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL C

MARCH 26, 2008
______________________________

IN RE RUBEN NARANJO BALDIVIA, RELATOR  
_______________________________


Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Ruben Naranjo Baldivia, has filed with the district court of Castro County
a document entitled, “Petition for a Writ of Habeas Corpus” requesting that the Texas
Department of Criminal Justice (TDCJ) be required to remove all records showing that
relator was charged with the offense of Murder in Cause No. 2110 in Swisher County
because relator alleges that he was acquitted of those charges.  The trial court denied
relator’s petition.  Relator has now appealed the order denying his petition and has
requested that this court require TDCJ to remove all records of the existence of the charge
of murder.  Although Baldivia has titled his petition as “Petition for a Writ of Habeas
Corpus,” in fact, Baldivia is requesting that we order TDCJ to refrain from an action.  Thus
we shall treat Baldivia’s request as seeking mandamus relief.  See Surgitek, Bristol-Myers
Corp. v. Abel, 997 S.W.2d 598, 601 (Tex. 1999).  We deny the petition.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Texas Rule of Appellate Procedure 52.3


 identifies the requirements for a petition
for writ of mandamus filed in this court.  Baldivia has failed to comply with these
requirements.  Rule 52.3 requires that all factual statements in a petition must be verified
by affidavit made on personal knowledge.  Baldivia does not include an affidavit.  Rule
52.3(a) requires that a petition must include a complete list of all parties and the names
and addresses of all counsel.  Baldivia does not list the names of the parties against whom
he seeks mandamus relief apart from their identification in the argument portion of his
petition.  Rule 52.3(b) requires that the petition include a table of contents with references
to the pages of the petition and an indication of the subject matter of each issue or point
raised in the petition.  Baldivia’s petition includes no table of contents.  Rule 52.3(c)
requires that a petition include an index of authorities in which all authorities cited in the
petition are arranged alphabetically and the page(s) upon which the authorities are cited
is indicated.  Baldivia’s petition includes no index of authorities.  Rule 52.3(f) requires the
petition include a concise statement of all issues or points presented for relief.  Baldivia’s
petition includes no such statement.  Each of these items are required in a petition for writ
of mandamus and, as Baldivia failed to include them in his petition, we will not grant the
relief that he requests.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;However, even if Baldivia had complied with the requirements of Rule 52.3, his
petition fails to establish his entitlement to mandamus relief.  A court of appeals has
authority to issue writs of mandamus against district and county court judges within the
court of appeals’s district and all writs necessary to enforce its jurisdiction.  Tex. Gov’t
Code Ann. § 22.221(a), (b) (Vernon 2004).  As the named respondent is not identified as
a judge, it is not within our jurisdictional reach and we have no authority to issue a writ of
mandamus against the respondent absent a showing that issuance of the writ is necessary
to enforce our jurisdiction.  In re Cummins, 2004 WL 1948048, at *1 (Tex.App.–Amarillo
2004, orig. proceeding) (mem. op.); In re Coronado, 980 S.W.2d 691, 692 (Tex.App.–San
Antonio 1998, orig. proceeding).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Baldivia has provided this court none of the material documents relating to his
alleged denial of privileges within the prison system.  See Tex. R. App. P. 52.3(j)(1).  As
Baldivia’s petition for writ of mandamus does not comply with the requirements of Rule
52.3 and fails to establish how the writ is necessary to enforce this court’s jurisdiction, we
deny the petition.






&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Mackey K. Hancock

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice








eave.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;She was later asked, “When you gave him back that . . . ring, were you intending
to give that back to him as a gift?”  She responded in the negative and added, “It was given
in anger. I mean, he threw his at me . . . .”  Paula agreed with her lawyer that the two were
“flinging rings at each other[.]”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ronald described the ring exchange as a calmer scene.  He said after Paula told
him she wanted a divorce, “I took my ring off, placed it on the coffee table. She took her
ring off and placed it on the coffee table. There was no throwing or any of that such. It was
civil. It was not an emotional outburst.”  He said when Paula left the house, she took his
wedding ring with her.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Under cross-examination, Ronald twice summarized his view of the exchange. He
testified, “We agreed to get divorced. We gave each other’s rings back to each other. That
was all that was said.”  He later said, “I took my ring off and I said, ‘Here’s your ring back.’
I put it on the table.  She took hers off and put it on the table and said, ‘Here’s your ring
back. We’re getting divorced.’”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Paula testified she later asked for the return of her engagement ring, but Ronald
refused. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At trial, each party testified concerning the community property and the party’s
preferred division of it.  At the conclusion of trial, the court announced its division of the
marital property.  It awarded the engagement ring to Paula, and declined to recognize a
reimbursement claim in favor of the community based on payment during the marriage of
debt Paula incurred before the marriage.  It later signed a judgment to the same effect.
Ronald’s issue on appeal complains of those two aspects of the property division.
Analysis
Engagement Ring
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ronald bases his objection to the trial court’s award of Paula’s engagement ring to
her on the contention she made a completed gift of the ring to Ronald when she returned
it to him on the night they separated.  Ronald bore the burden at trial of proving the
occurrence of the gift.  Powell v. Powell, 822 S.W.2d 181, 183 (Tex.App.–Houston [1st
Dist.] 1992, writ denied); Forbes v. Forbes, 430 S.W.2d 947, 948 (Tex.Civ.App.–Amarillo
1968, no writ).  No findings of fact were made or requested.  Thus, it is implied that the trial
court made all findings necessary to support its judgment.  Roberson v. Robinson, 768
S.W.2d 280, 281 (Tex. 1989) (per curiam).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We will review Ronald’s complaint on appeal as a challenge to the legal and factual
sufficiency of the evidence supporting the court’s implied adverse finding on the issue on
which Ronald bore the burden of proof.  To prevail in a legal sufficiency challenge on
appeal, Ronald must show the evidence establishes, as a matter of law, all vital facts in
support of the issue.  Dow Chem. Co. v. Francis, 46 S.W.3d 237, 241 (Tex. 2001) (per
curiam).  For a successful factual sufficiency challenge, Ronald must demonstrate the
adverse finding is against the great weight and preponderance of the evidence.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The law requires three elements to establish the existence of a gift:  (1) intent to
make a gift; (2) delivery of the property, and (3) acceptance of the property.  Powell, 822
S.W.2d at 183; accord, In re Marriage of Royal, 107 S.W.3d 846 (Tex.App.–Amarillo 2003,
no pet.).  The donative intent is to be evaluated at the time of the delivery of the property. 
See Rusk v. Rusk, 5 S.W.3d 299, 303 (Tex.App.–Houston [14th Dist.] 1999, pet. denied),
citing Ellebracht v. Ellebracht, 735 S.W.2d 658, 659 (Tex.App.–Austin 1987, no writ)
(noting donative intent of the grantor at the time of the conveyance as a “controlling factor”
in proof of a gift).  At the trial of the divorce action to the bench, it was the role of the trial
court, not this appellate court, to pass on the weight and credibility of the parties’ testimony
and to resolve conflicts in the evidence.  See Zagorski v. Zagorski, 116 S.W.3d 309, 318
(Tex.App.–Houston [14th Dist.] 2003, pet. denied) (citing, inter alia, Bailey v. Bailey,&nbsp;295
S.W.2d 438, 439 (Tex.Civ.App.–Amarillo 1956, no writ)).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Among the “vital facts,” Dow Chem., 46 S.W.3d at 241, Ronald must show as a
matter of law that Paula’s delivery of her engagement ring to him was accompanied by the
intent to make a gift.  By Paula’s testimony, she returned the ring to Ronald “in anger,” after
he “threw his [ring] at me,” and in the course of a conversation in which he told her he
wanted her out of his house that night.  She denied she intended to make him a gift of the
ring.  This testimony, which supports the trial court’s adverse finding on Ronald’s issue,
requires that we reject his legal sufficiency challenge to the evidence.  Dow Chem., 46
S.W.3d at 241.  The only evidence bearing on the issue was the parties’ testimony.
Considering and weighing all the evidence, we cannot say the adverse finding is supported
by evidence so weak or is so against the great weight and preponderance of the evidence
that it is clearly wrong and unjust.  Id.  Accordingly, we conclude also that factually
sufficient evidence supports the trial court’s failure to find Paula made a gift of the ring to
Ronald.


 
Ronald’s Reimbursement Requests&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ronald also contends the trial court abused its discretion by denying his request for
reimbursement to the community estate for debts that Paula owed at the time of the
marriage and were paid with community funds.  Paula testified that at the time of the
marriage, she owed a $7000 credit card debt, and a $30,000 bank debt from a failed
business.  It is undisputed both debts were paid during the marriage.  Ronald argues the
court’s failure to require reimbursement to the community estate caused an inequitably
disproportionate division of the community, thus demonstrating the court abused its
discretion in the property division.  We cannot agree.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here again, it is implied in this case that the trial court made all the necessary
findings to support its judgment. Roberson v. Robinson, 768 S.W.2d 280, 281 (Tex. 1989).
A judgment based on implied findings that are supported by sufficient evidence is to be
affirmed on any applicable theory of law. See Point Lookout West, Inc. v. Whorton, 742
S.W. 2d 277, 278 (Tex. 1987).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Family Code requires the court, in a divorce, to order a division of the estate of
the parties in a manner that the court deems just and right, having due regard for the rights
of each party.  Tex. Fam. Code Ann. § 7.001 (Vernon 2006).  The phrase “estate of the
parties” there means the parties’ community property.  Wilson v. Wilson, 44 S.W.3d 597,
600 (Tex.App.–Fort Worth 2001, no pet.), citing Cameron v. Cameron, 641 S.W.2d 210,
214-15 (Tex. 1982).  The trial court has broad discretion in dividing the community estate
of the parties.  Powell, 822 S.W.2d at 184.  The “just and right” division of the community
estate need not be equal.  Schlueter v. Schlueter, 975 S.W.2d 584, 588 (Tex. 1998);
Forgason v. Forgason, 911 S.W.2d 893, 896 (Tex.App.–Amarillo 1995, writ denied).  “In
exercising its discretion the trial court may consider many factors and it is presumed that
the trial court exercised its discretion properly.”  Murff v. Murff, 615 S.W.2d 696, 698 (Tex.
1981) (citation omitted).  Its decision will not be disturbed unless a clear abuse of that
discretion is shown.  Murff, 615 S.W.2d at 698; Marriage of Royal, 107 S.W.3d at 849. 
When determining whether the court has abused its discretion, we must view the evidence
in the light most favorable to the trial court’s actions and indulge in every legal presumption
in favor of the judgment.  Tucker v. Tucker, 908 S.W.2d 530, 532 (Tex.App.–San Antonio
1995, writ denied).&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sections 3.408 and 3.409 of the Family Code address claims for reimbursement. 
Tex. Fam. Code Ann. § 3.408 (Vernon Supp. 2007); Tex. Fam. Code Ann. § 3.409 (Vernon
2006).  The Family Code also provides that in a divorce decree, the court is to determine
the rights of both spouses in a claim for reimbursement as provided by Subchapter E,
Chapter 3 of the Code,


 and is to apply equitable principles to determine whether to
recognize the claim after taking into account all the relative circumstances of the spouses,
and order a division of the claim, if appropriate, in the manner that the court considers just
and right, having due regard for the rights of each party.  Tex. Fam. Code Ann. § 7.007
(Vernon 2006).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In response to Ronald’s contention, Paula argues the record does not enable
Ronald to sustain his burden of demonstrating an abuse of discretion in the division of the
community estate.  She notes the record does not contain evidence showing the values
of the entire community estate or the values of all the property awarded to each party.  We
must agree, and find that when the evidence is viewed in the light most favorable to the
trial court’s judgment, Ronald cannot demonstrate that its division of the property was
inequitably disproportionate.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Moreover, assuming the existence of a reimbursement claim in favor of the
community arising from the payment of Paula’s pre-marriage debt does not show the court
abused its discretion in the property division.  Paula’s testimony about the debt included
the following: “I did have a lot of debt that I had two choices:  I could have filed bankruptcy
or [sic] I chose to work three jobs and pay it off as I could.  And that’s what I did.”  If it had
recognized a reimbursement claim in favor of the community, the court could have relied
on Paula’s uncontradicted testimony that she worked three jobs to pay the debt as reason
to allocate a disproportionate amount of the reimbursement claim to her.  See Tex. Fam.
Code Ann. § 7.007(b)(2) (Vernon 2006). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We overrule Ronald’s appellate issue, and affirm the trial court’s judgment.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

























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